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                                              ANNEX 1

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under chapter 11 of title 11 of the United States
Code in the United States Bankruptcy Court for the Southern District of New York (the “Court”).
A motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure.

 Entity Name                                           District                Case Number
 21 & Over Productions, LLC                            Bankruptcy - SDNY       Not Yet Assigned
 3 DAYS TO KILL PRODUCTIONS, LLC                       Bankruptcy - SDNY       Not Yet Assigned
 ARMORED CAR PRODUCTIONS, LLC                          Bankruptcy - SDNY       Not Yet Assigned
 Best of Me Productions, LLC                           Bankruptcy - SDNY       Not Yet Assigned
 Black or White Films, LLC                             Bankruptcy - SDNY       Not Yet Assigned
 Blackbird Productions, LLC                            Bankruptcy - SDNY       Not Yet Assigned
 Brick Mansions Acquisitions, LLC                      Bankruptcy - SDNY       Not Yet Assigned
 Don Jon Acquisitions, LLC                             Bankruptcy - SDNY       Not Yet Assigned
 DR Productions, LLC                                   Bankruptcy - SDNY       Not Yet Assigned
 Furnace Films, LLC                                    Bankruptcy - SDNY       Not Yet Assigned
 Malavita Productions, LLC                             Bankruptcy - SDNY       Not Yet Assigned
 Movie Productions, LLC                                Bankruptcy - SDNY       Not Yet Assigned
 Paranoia Acquisitions, LLC                            Bankruptcy - SDNY       Not Yet Assigned
 Phantom Acquisitions, LLC                             Bankruptcy - SDNY       Not Yet Assigned
 Relative Motion Music, LLC                            Bankruptcy - SDNY       Not Yet Assigned
 Relative Velocity Music, LLC                          Bankruptcy - SDNY       Not Yet Assigned
 Relativity Development, LLC                           Bankruptcy - SDNY       Not Yet Assigned
 Relativity Fashion, LLC                               Bankruptcy - SDNY       18-11291
 Relativity Films, LLC                                 Bankruptcy - SDNY       Not Yet Assigned
 Relativity Foreign, LLC                               Bankruptcy - SDNY       Not Yet Assigned
 Relativity Holdings LLC                               Bankruptcy - SDNY       Not Yet Assigned
 Relativity Jackson ,LLC                               Bankruptcy - SDNY       Not Yet Assigned
 Relativity Media Distribution, LLC                    Bankruptcy - SDNY       Not Yet Assigned
 Relativity Media Films, LLC                           Bankruptcy - SDNY       Not Yet Assigned
 Relativity Media, LLC                                 Bankruptcy - SDNY       Not Yet Assigned
 Relativity Music Group, LLC                           Bankruptcy - SDNY       Not Yet Assigned
 Relativity Production LLC                             Bankruptcy - SDNY       Not Yet Assigned
 Relativity Rogue, LLC                                 Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions I, LLC                               Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions II, LLC                              Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions III, LLC                             Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions IV, LLC                              Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions IX, LLC                              Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions V, LLC                               Bankruptcy - SDNY       Not Yet Assigned
 RML Acquisitions VI, LLC                              Bankruptcy - SDNY       Not Yet Assigned

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 Entity Name                                      District            Case Number
 RML Acquisitions VIII, LLC                       Bankruptcy - SDNY   Not Yet Assigned
 RML Acquisitions X, LLC                          Bankruptcy - SDNY   Not Yet Assigned
 RML Acquisitions XI, LLC                         Bankruptcy - SDNY   Not Yet Assigned
 RML Acquisitions XIII, LLC                       Bankruptcy - SDNY   Not Yet Assigned
 RML Acquisitons VII, LLC                         Bankruptcy - SDNY   Not Yet Assigned
 RML Desert Films, LLC                            Bankruptcy - SDNY   Not Yet Assigned
 RML Distribution Domestic, LLC                   Bankruptcy - SDNY   18-11292
 RML Distribution International, LLC              Bankruptcy - SDNY   Not Yet Assigned
 RML Echo Films, LLC                              Bankruptcy - SDNY   Not Yet Assigned
 RML Film Development, LLC                        Bankruptcy - SDNY   Not Yet Assigned
 RML Hector Films, LLC                            Bankruptcy - SDNY   Not Yet Assigned
 RML International Assets, LLC                    Bankruptcy - SDNY   Not Yet Assigned
 RML November Films, LLC                          Bankruptcy - SDNY   Not Yet Assigned
 RML Oculus Films, LLC                            Bankruptcy - SDNY   Not Yet Assigned
 RML Romeo and Juliet Films, LLC                  Bankruptcy - SDNY   Not Yet Assigned
 RML Turkeys Films, LLC                           Bankruptcy - SDNY   Not Yet Assigned
 RML WIB Films, LLC                               Bankruptcy - SDNY   Not Yet Assigned
 RMLDD Financing, LLC                             Bankruptcy - SDNY   Not Yet Assigned
 Rogue Digital, LLC                               Bankruptcy - SDNY   Not Yet Assigned
 Rogue Games, LLC                                 Bankruptcy - SDNY   Not Yet Assigned
 Roguelife LLC (dba Relativity Digital)           Bankruptcy - SDNY   Not Yet Assigned
 Safe Haven Productions, LLC                      Bankruptcy - SDNY   Not Yet Assigned
 Snow White Productions, LLC                      Bankruptcy - SDNY   Not Yet Assigned




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